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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                     CASE NO. 21-2989-MDL-ALTONAGA/DAMIAN

   In re:

   JANUARY 2021 SHORT SQUEEZE
   TRADING LITIGATION

   _________________________________/

   This Document Relates to
   Case No. 1:23-cv-21572 -CMA

       MOTION AND MEMORANDUM OF LAW IN SUPPORT OF THE MOTION OF
        MOVANTS MAURICE SCARBOROUGH AND SCOTT SCHILLER FOR: (1)
       APPOINTMENT AS LEAD PLAINTIFFS FOR THE OPTIONS CLASS; AND (2)
              APPROVAL OF THEIR SELECTION OF LEAD COUNSEL
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                                               MOTION
          Movants Maurice Scarborough and Scott Schiller (“Movants”), pursuant to Section 21D
   of the Securities Exchange Act of 1934 (“Exchange Act”), 15 U.S.C. § 78u-4(a)(3)(B), as
   amended by the Private Securities Litigation Reform Act of 1995 (the “PSLRA”), hereby move
   this honorable Court on a date and at such time as may be designated by the Court, for an Order:
   (1) appointing Movants as Lead Plaintiffs on behalf of a class consisting of persons or entities
   who held call options (collectively the “Affected Options”) to purchase common stock in AMC
   Entertainment Holdings, Inc., GameStop Corp. (“GME”), American Airlines Group Inc.
   (NASDAQ: AAL), Bed Bath & Beyond Inc. (“BBBY”), BlackBerry Ltd. (“BB”), or American
   Depositary Shares of foreign-issuers Nokia Corp. (“NOK”) (collectively the “Affected Stocks”),
   as of the close of trading on January 27, 2021, and who sold such Affected Options at a loss, or
   whose Affected Options expired between January 28, 2021 and February 19, 2021 (the “Options
   Class”) as a result of Robinhood’s trading restrictions which allegedly violated the federal
   securities laws; (2) approving Movants’ selection of Klafter Lesser LLP (the “Klafter Lesser
   Firm” and Pessah Law Group, PC (the “Pessah Firm”) as Lead Counsel; and (3) granting such
   other and further relief the Court may deem just and proper.
          In support of this Motion, Movants submit herewith a Memorandum of Law and the
   Declaration of Jeffrey A. Klafter (“Klafter Decl.”), both dated June 9, 2023. Movants have also
   filed and emailed a proposed Order to the Court.
                              INTRODUCTION AND BACKGROUND
          Under the PSLRA, the lead plaintiff has the authority to bring claims under the federal
   securities laws with regard to the class or classes set forth in the notice mandated by the PSLRA.
   See 15 U.S.C. § 78u-4(a)(3)(A)(i)(I) (“[n]ot later than 20 days after the date on which the
   complaint is filed,” notice must be published in a national business publication or wire service
   describing and advising the members of the purported class, of the pendency of the action,
   claims asserted, and class period. On April 10, 2023, in compliance with this provision of the
   PSLRA, the Klafter Lesser Firm caused the notice, attached as Exhibit A to the Klafter Decl. to
   be published via PRNewswire (the “PSLRA Options Notice”). That PSLRA Options Notice
   described the class at issue as follows:
          investors who held call options on the Robinhood Trading Platform as of the close
          on January 27, 2021 to purchase any of the following stocks: American Airlines
          Group Inc. (NASDAQ: AAL), AMC Entertainment Holdings Inc. (NYSE: AMC),

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          BlackBerry Limited (NYSE: BB), Bed Bath & Beyond Inc. (NASDAQ: BBBY),
          GameStop Corp. (NYSE: GME), or Nokia Corporation (NYSE: NOK) (the
          "Affected Options"), sold such options or such options expired, during the period
          January 28, 2021 through and including February 19, 2021 (the "Class Period"),
          and thereby suffered a loss.

   This PSLRA Options Notice also informed investors who held the Affected Options of their right
   to move to serve as lead plaintiff no later than June 9, 2023. No prior notice published in
   accordance with the PSLRA ever advised members of this Options Class that class claims had
   been asserted on their behalf or invited them to move to be appointed as lead plaintiff.
          Commencing on January 28, 2021, Robinhood suddenly imposed unprecedented
   “position closing only” (i.e. buy-side) trading restrictions across its brokerage on a basket of
   stocks (“Affected Stocks”) 1. The result was a precipitous decline in the values of those stocks but
   also in the values of the Affected Options, which options values are derivative of the values of
   the underlying stocks. At the time of the restrictions, there was an enormous volume of trading,
   particularly by relatively unsophisticated retail investors, in both the Affected Stocks and the
   Affected Options. Both stockholders and options holders suffered significant damages as a result
   of Robinhood’s market manipulation. After decimating the market for the Affected Stocks and
   the Affected Options through their trading restrictions, a flurry of approximately fifty-three (53)
   class actions were filed against Robinhood (and others). The Judicial Panel for Multidistrict
   Litigation (“JPML”) consolidated the multiplicity of class actions into this MDL No. 2989
   (“MDL”). This Court subsequently entered an Order (ECF No. 420) approving Blue Laine-
   Beveridge as Lead Plaintiff and its counsel and the Rosen Law Firm as Lead Counsel, but that
   Order was circumscribed by Blue-Laine Beverage’s lead plaintiff motion, which only sought
   appointment to pursue federal securities claims only concerning the Affected Stocks. See ECF
   No. 366. Consistent with that limited appointment, Lead Plaintiff Blue Laine-Beverage and the
   Rosen Law Firm have done absolutely nothing to advance the interests of investors whose


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     The thirteen (13) “Affected Stocks” included in Lead Plaintiff’s and Lead Counsel’s motion
   for appointment were: American Airlines Group Inc. (NASDAQ: AAL), AMC Entertainment
   Holdings Inc. (NYSE: AMC), BlackBerry Limited (NYSE: BB), Bed Bath & Beyond Inc.
   (NASDAQ: BBBY), GameStop Corp. (NYSE: GME), Express (NYSE: EXPR), Koss
   Corporation (NASDAQ: KOSS), Naked Brand Group (NASDAQ: NAKD), Nokia Corporation
   (NYSE: NOK), Sundial Growers, Inc. (NASDAQ: SNDL), Tootsie Roll Industries (NYSE: TR),
   and Trivago NV (NASDAQ: TRVG).
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   investments in the Affected Options were decimated by Robinhood’s trading restrictions. No
   notice under the PSLRA prior to the PSLRA Options Notice informed any Options Class
   member that any class claims had been brought on their behalf or that invited them to move to
   become lead plaintiff on behalf of any Options Class.

                                               ARGUMENT
   I.     MOVANTS SHOULD BE APPOINTED AS LEAD PLAINTIFFS FOR THE
          OPTIONS CLASS

          The PSLRA sets forth procedures for the selection of the Lead Plaintiff in class actions
   brought under the federal securities laws. The PSLRA requires the Court to appoint a member of
   the class described in the PSLRA notice who timely moves in response to that notice “that the
   court determines to be most capable of adequately representing the interests of class members.”
   In making this determination, the PSLRA provides a “rebuttable presumption” that the most
   “adequate plaintiff” to serve as Lead Plaintiff is the “person or group … ” that:
          (aa)    has either filed the complaint or made a motion in response to a notice …;
          (bb)    in the determination of the Court, has the largest financial interest in the relief
          sought by the class; and
          (cc)    otherwise satisfies the requirements of Rule 23 of the Federal Rules of Civil
          Procedure.
   15 U.S.C. § 78u-4(a)(3)(B)(iii); In re January 2021 Short Squeeze Trading Litig., 2021 U.S.
   Dist. LEXIS 199545, *22 (S.D. Fl. Oct. 15, 2021) (“October 15, 2021 Order”). As set forth
   below, Movants satisfy all three of these criteria and thus are entitled to the presumption that
   they are the most adequate representatives of the Option Class and, therefore, should be
   appointed Lead Plaintiffs for that class.
          A. MOVANTS MADE A MOTION IN RESPONSE TO THE PUBLISHED PSLRA
             NOTICE

          Movants have brought the present motion in response to the published PSLRA Options
   Notice and have filed in connection with the filing of their Complaint brought on behalf of the
   Options Class (ECF No. 1 in Case No. 1:23-cv-21572 -CMA) PSLRA certifications attesting that
   they are willing to serve as representatives of the Options Class, are willing to assume the duties
   and responsibilities of being Options Class representatives and are willing to provide testimony


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   at deposition and at trial, as necessary. These Certifications for the convenience of the Court are
   attached as Exhibit B to the Klafter Decl.. As such, Movants satisfy the first requirement to serve
   as Lead Plaintiffs for the Options Class.
          B. MOVANTS HAVE THE LARGEST FINANCIAL INTEREST IN THE
             ACTION

          In determining the movant with the largest financial interest, this Court has applied the
   following factors:
          (1) the number of shares purchased during the class period, (2) the amount of the
          investment or net funds expended during the class period, and (3) the estimated
          losses suffered.

   October 15, 2021 Order, 2021 U.S. Dist. LEXIS 199545, *24 citing Miller v. Dyadic Int'l, Inc.,
   No. 07-80948-Civ., 2008 U.S. Dist. LEXIS 32271, 2008 WL 2465286 at *3 (S.D. Fla. Apr. 18,
   2008) (citation omitted). This Court has also noted that “most courts accord the third factor, the
   estimated losses, the greatest weight.” October 15, 2021 Order, 2021 U.S. Dist. LEXIS 199545,
   *24.
          In this District and the Eleventh Circuit more generally, it is well settled that investors
   may aggregate their losses into a group to show the largest financial interest. See Newman v.
   Eagle Bldg. Techs., 209 F.R.D. 499, 503 (S.D. Fla. 2002). (“The idea that plaintiffs may
   aggregate their losses into a group to show the derives from the language of the PSLRA which
   states that the most adequate plaintiff is the ‘person or group of persons.’”) (quoting 15 U.S.C. §
   78u–4(a)(3)(B)(iii)(I)); id. at 503-04 (“This Court adopts the reasoning of the Third Circuit and
   finds that aggregation is acceptable for the purposes of lead plaintiff in private securities
   litigation.”); In re 21st Century Holding Co. Sec. Litig., 2007 U.S. Dist. LEXIS 103464 at *11
   (S.D.F.L Nov. 20, 2007)(“When moving for lead plaintiff, aggregation of individual losses to
   form a small group is acceptable and derives from the language of the PSLRA which states that
   the most adequate plaintiff is the person or group of persons.”) (Internal citations omitted);
   Plumbers & Pipefitters Local 51 Pension Fund v. Darden Rests., Inc., 2008 U.S. Dist. LEXIS
   111155 (M.D.F.L. July 1, 2008) (permitting two pension funds to aggregate their losses and
   appointing them as a group of lead plaintiffs);Eastwood Enters., LLC v. Farha,2008 U.S. Dist.
   LEXIS 19127 at *7 (M.D. Fla. Mar. 11, 2008) (“District courts within the Eleventh Circuit have
   allowed aggregation of a group's loss in order to determine whether the group is the


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   presumptively most adequate plaintiff.”). Further, “[t]here is no requirement contained in the
   PSLRA that the group of persons serving as lead plaintiff have a relationship among themselves.
   Instead, the PSLRA focuses on whether the person or group that is the proposed lead plaintiff
   can fairly and adequately serve as the lead plaintiff.” Newman, 209 F.R.D. at 503–04; see also
   Eastwood Enterprises, at *9 (“We note at this juncture that we disagree with those courts that
   have held that the statute invariably precludes a group of ‘unrelated individuals’ from serving as
   a lead plaintiff. The statute contains no requirement mandating that the members of a proper
   group be ‘related’ in some manner.”) (citations omitted).
          Movants collectively lost $5,745.06 on their investments in the Affected Options at the
   close on January 27, 2021, that they sold at a loss, or that expired, between January 28, 2021, and
   February 19, 2021, as a result of the alleged manipulation and fraud. Movants’ individual and
   collective losses are shown in the spreadsheet attached as Exhibit C to the Klafter Decl..
   Accordingly, Movants satisfy the largest financial interest requirement to be appointed as Lead
   Plaintiffs for the Option Class.
          C. MOVANTS SATISFY THE REQUIREMENTS OF RULE 23 OF THE
             FEDERAL RULES OF CIVIL PROCEDURE

          The last requirement for being entitled to the presumption of being the most adequate
   plaintiff is that the Lead Plaintiff must “otherwise satisfy the requirements of Rule 23 of the
   Federal Rules of Civil Procedure.” 15 U.S.C. § 78u-4(a)(3)(B)(iii)(cc). See October 15, 2021
   Order, 2021 U.S. Dist. LEXIS 199545, *25. Only the typicality and adequacy requirements of
   Rule 23 are relevant for purposes of a lead plaintiff appointment. Id. Further, only a prima facie
   showing is necessary. Fischler v. Amsouth Bancorporation, 1997 U.S. Dist. LEXIS 2875, at * 1
   (M.D.F.L. Feb. 6, 1997)
          1.   Movants’ Claims are Typical of the Claims of the Members of the Options Class
          The Rule 23(a) typicality requirement is satisfied where “the claims and defenses of the
   class and the [proposed lead plaintiff is established a plaintiff’s claims arise from the same event
   or pattern or practice and are based on the same legal theory.” October 15, 2021 Order, 2021
   U.S. Dist. LEXIS 199545, * 25. An identity of claims and facts, however, is not necessary. Id.
          Here, Movants claims are typical of the claims of the Options Class because each
   Movant, like every member of the Options Class, held an Affected Option at the close on
   January 27, 2021, and sold those Affected Options at a loss, or whose Affected Options expired.

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   Between January 28, 2021, and February 19, 2021, due to the same restrictions on trading
   imposed by Robinhood, and all suffered damages as a result.
            2. Movants Are Adequate Representatives of the Options Class
            The adequacy of representation of Rule 23 is satisfied where no “substantial conflicts of
   interest exist between the [presumptive lead plaintiff] and where the presumptive lead plaintiff
   “will adequately prosecute the action.” October 15, 2021 Order, 2021 U.S. Dist. LEXIS 199545,
   * 25-26. Movants have each signed Certifications affirming their willingness to serve as lead
   plaintiff and vigorously prosecute the claims of the Options Class. See Klafter Decl. Ex B.
   Movants have also retained counsel with significant experience in securities or other complex
   litigation . See the Firm Resumes of the Klafter Lesser Firm and the Pessah Firm, attached as
   Exhibits D and E, respectively, to the Klafter Decl. Lastly, Movants are not aware that any
   conflict exists between Movants’ claims and those asserted on behalf of the Options Class.
   Movant also sustained substantial financial losses for them from investments in the Affected
   Options Securities by means of the Robinhood trading platform and are therefore, extremely
   motivated to pursue the claims on behalf of the members of the Options Class.
            D. MOVANTS ARE PRESUMPTIVELY THE MOST ADEQUATE PLAINTIFFS

            Movants are therefore entitled to the presumption that they are the most adequate
   investors to represent the Options Class. This presumption may be rebutted only upon proof “by
   a purported member of the Plaintiffs’ class” that the presumptively most adequate plaintiff:
                (aa)       will not fairly adequately protect the interest of the class; or
                (bb)       is subject to unique defenses that render such plaintiff incapable of
                adequately representing the class.
   15 U.S.C. § 78u-4(a)(3)(B)(iii)(I); October 15, 2021 Order, 2021 U.S. Dist. LEXIS 199545, *
   26-27.
            The presumption that Movants are the most adequate Lead Plaintiff is not subject to
   rebuttal here as there is no basis for proving either infirmity. The ability of Movants to represent
   the Options Class fairly and adequately is discussed above. Movants are also not aware of any
   unique defenses Defendants could raise against any of them that would render any Movant
   inadequate to represent the Options Class. The close alignment of interests between Movants
   and the members of the Options Class, as well as their strong desire to prosecute the claims of
   the Options Class, provide ample reason to grant Movants’ motion to serve as Lead Plaintiff.

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    II.     MOVANTS’ SELECTION OF COUNSEL SHOULD BE APPROVED

            The PSLRA vests authority in the Lead Plaintiff to “select and retain counsel to represent
    the class,” subject to the approval of the Court. 15 U.S.C. § 78u-4(a)(3)(B)(v); October 15, 2021
    Order, 2021 U.S. Dist. LEXIS 199545, * 33. A court should “generally employ a deferential
    standard in reviewing the lead plaintiff’s choice[]” and “should not interfere with the lead
    plaintiff’s selection of counsel unless necessary to ‘protect the interests of the class[.]” Id.; 15
    U.S.C. § 78u4(a)(3)(B)(iii)(II)(aa).
            Movants have selected the Klafter Lesser Firm and the Pessah Firm to serve as Lead
    Counsel. Proposed Lead Counsel have extensive experience in prosecuting claims for securities
    fraud and/or other types of complex class actions. They are both intimately familiar with the
    facts and claims at issue having been involved in this MDL since its commencement.
    Additionally, Mr. Klafter has over 50 years of experience during which he has successfully
    prosecuted as Lead Counsel numerous security fraud class actions resulting in substantial
    recoveries for the classes he has represented. Mr. Pessah has extensive experience in high-stake
    complex litigation and class actions. See the Firm Resumes of the Klafter Lesser Firm and the
    Pessah Firm, attached as Exhibits D and E, respectively, to the Klafter Decl.
            As a result of proposed Lead Counsel’s experience, Movants’ proposed counsel has the
    skill and knowledge to prosecute the claims of the Options Class effectively and expeditiously.
    Thus, the Court may be assured that by approving Movants’ selection of Lead Counsel, the
    members of the Options Class will receive the best legal representation available. 2
                                            CONCLUSION
            For the foregoing reasons, Movants respectfully request that the Court issue an Order: (1)
    appointing Movants as Lead Plaintiff for the Options Class; (2) approving Movants’ selection of

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      That Mr. Klafter and Mr. Pessah were appointed as members of the Steering Committee by
    this Court’s May 18, 2021 Order (ECF No. 310) presents no issue that would prevent either from
    zealously representing the interests of the Option Class. This Court established the Steering
    Committee for the Antitrust Tranche, Robinhood Tranche, and Other Broker Tranche and
    empowered the Steering Committee to “ensure that all [of these] tranche members’ interests and
    positions are represented in decision making.” This Court, however, has dismissed the
    complaints of each of these tranches with prejudice so the Steering Committee has no function at
    this time. Nevertheless, given the possibility that the Eleventh Circuit could reinstate the claims
    of one or more of these tranches, to avoid the appearance of any conflict, Mr. Klafter and Mr.
    Pessah will promptly resign from the Steering Committee if appointed as Lead Counsel for the
    Options Class.
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    the Klafter Lesser Firm and the Pessah Firm as Lead Counsel; and (3) granting such other relief
    as the Court may deem to be just and proper.
                       COMPLIANCE WITH CIVIL LOCAL RULE 7.1(A)(3)
           Local Rule 7.1(a)(3) requires a conference of counsel prior to filing motions. Due to the
    lead plaintiff procedure of the PSLRA, however, Movants do not yet know which other entities
    or persons plan to move for appointment as lead plaintiff until after all movants have filed their
    respective motions. Under these circumstances, Movant respectfully requests that the conferral
    requirement of Local Rule 7.1(a)(3) be waived.
    Dated: June 9, 2023                    Respectfully submitted,

                                           KLAFTER LESSER LLP

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                                           [Proposed] Lead Counsel for Lead Plaintiffs and
                                           the Options Class




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                                   CERTIFICATE OF SERVICE
           I hereby certify that on June 9, 2023, a true and correct copy of the foregoing document
    was served by CM/ECF to the parties registered to the Court’s CM/ECF system.
                                                       /s/ Jeffrey Klafter




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